                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION

    JEREMY FRYE,
                   Plaintiff,                                No. 18-CV-3031 CJW
    vs.                                                              ORDER
    HAMILTON COUNTY HOSPITAL
    d/b/a Van Diest Medical Center; MERCY
    HEALTH NETWORK, INC., and
    WEBSTER CITY/WEBSTER CITY
    POLICE DEPARTMENT,
                   Defendants.
                                    ____________________


         Before me are Plaintiff’s motion to compel (Doc. 43) and Plaintiff’s motion to
compel (Doc. 46) directed at Defendant Hamilton County Hospital d/b/a Van Diest
Medical Center (“VDMC”). VDMC timely resisted both motions and Plaintiff filed
replies. On March 4, 2019, the Court held a hearing on the motions. The parties 1 were
directed to confer in good faith to further narrow the issues for decision. On March 18,
2019, they filed their respective notices regarding the outcome of those efforts. (Docs.
54, 55.)
                                    I.     BACKGROUND
         Jeremy Frye was formerly employed as the Plant Operations Director at the
Hamilton County Hospital. (Doc. 34 ¶¶ 9-10.) This lawsuit arises from his termination
from that position. Frye alleges violations of the Iowa Constitution, claims pursuant to
42 U.S.C. § 1983 for violation of his rights under the United States Constitution,



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    I will use “parties” to refer to the two disputants in this discovery matter: Frye and VDMC.

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violations of the Family and Medical Leave Act, wrongful discharge in violation of public
policy, wrongful attempted search and seizure, and violation of Iowa’s drug testing law.
      Frye’s employment was terminated on December 15, 2016. Frye appealed the
denial of unemployment benefits on January 16, 2017. (Doc. 44-1.) On April 27,
2017, an ALJ held a hearing on Plaintiff’s unemployment claim. (Doc. 34 ¶ 14.)
VDMC was represented by attorney Maggie Hanson. (Id. ¶ 16.) A decision was issued
on May 1, 2017. (Id. ¶ 50.) Frye filed a Petition at Law in Iowa state court on April
6, 2018, which was subsequently removed to this Court on May 14, 2018. (Doc. 1.)
      Frye’s first motion to compel asserts, in pertinent part:
      Several of the claims against Defendant VDMC relate to VDMC’s alleged
      request for Plaintiff to submit to a reasonable suspicion drug test and his
      termination from employment for his alleged failure to do so. The Plaintiff’s
      former supervisor, Lori Rathbun, is a material witness who made the
      decision and request for a drug-test, and Ms. Rathbun ultimately made the
      decision to terminate the Plaintiff. Ms. Rathbun died in February, 2018,
      without an opportunity for Plaintiff to perpetuate Ms. Rathbun’s testimony.
      Therefore, Plaintiff has a substantial need for any records, including
      communications that may have been had, whereby Ms. Rathbun may have
      been the declarant. Without Plaintiff’s review of a privilege log, in
      compliance with Rule 26(b)(5)(A), Plaintiff is unable to assess the claimed
      privileges and is prevented from articulating facts which may be relevant
      as to whether or not any claimed privilege exists or is proper.

(Doc. 43 ¶ 5.) Frye’s first motion seeks “a privilege log in compliance with Fed. R.
Civ. P. 26(b)(5)(A)” and the expenses of obtaining that log. (Id. ¶ 17.)
      Defendant objected to certain requests for production of documents that it contends
seek documents protected by the attorney-client and work product privileges. Defendant
also objected to the production of a privilege log for communications that occurred after
litigation commenced. Perhaps recognizing the unusual circumstances created by Ms.
Rathbun’s death, VDMC produced notes of conversations that VDMC employees made
of their conversations with Ms. Rathbun when investigating the incidents at the time of

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Frye’s termination. The attorneys from Nyemaster Goode, who represent VDMC in
this litigation, and the attorneys from Davis Brown, who represented VDMC in the
unemployment proceeding, did not speak with Ms. Rathbun about Frye, his termination,
or the facts or circumstances related to his claims. (Doc. 44 at 2-3.)
       Frye filed a second motion to compel on January 21, 2019 asserting that VDMC
waived its asserted privileges by failing to provide a privilege log and, therefore, that it
should be compelled to produce any document withheld on attorney privilege or work
product grounds. (Doc. 46 at 3-4.)
                                  II.     DISCUSSION
A.     Scope of any privilege log
       The principal issue to be resolved is the scope of the privilege log VDMC is
required to provide. These motions do not require me to rule on individual objections
and decide whether any privilege applies. Nevertheless, because Frye seeks to overcome
a claim of privilege based on the death of Ms. Rathbun, it is necessary to keep in mind
the nature and limits of these privileges while considering the necessity of a privilege log
and its contents.
B.     Work product material
       Federal Rule of Civil Procedure 26(b)(3) governs the disclosure of work product:
       (3) Trial Preparation: Materials.
       (A) Documents and Tangible Things. Ordinarily, a party may not discover
       documents and tangible things that are prepared in anticipation of litigation
       or for trial by or for another party or its representative (including the other
       party’s attorney, consultant, surety, indemnitor, insurer, or agent). But,
       subject to Rule 26(b)(4), those materials may be discovered if:
              (i) they are otherwise discoverable under Rule 26(b)(1); and
              (ii) the party shows that it has substantial need for the materials to
              prepare its case and cannot, without undue hardship, obtain their
              substantial equivalent by other means.
       (B) Protection Against Disclosure. If the court orders discovery of those
       materials, it must protect against disclosure of the mental impressions,

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conclusions, opinions, or legal theories of a party’s attorney or other representative
concerning the litigation.


Discovery of a witness statement to an attorney is generally not allowed if that witness is
available to the other party. Baker v. Gen. Motors Corp., 209 F.3d 1051, 1054 (8th
Cir. 2000). In this case, Frye may well assert that statements made by Rathbun or
information about her that might otherwise be attorney work product are discoverable
because of substantial need. See Fed. R. Civ. P. 26(b)(3)(A)(ii). A privilege log is
necessary to assess the legitimacy of such objections.
C.     Attorney-client privilege
       With regard to the attorney-client privilege, the issue is not whether an exception
exists, but whether the statement has been properly categorized as a protected
communication. Keefe v. Bernard discusses the most relevant aspect of the privilege to
the case at bar:
       We agree with the United States Supreme Court that the corporate attorney-
       client privilege should not be limited to those in the “control group.”
       Instead, the test must focus on the substance and purpose of the
       communication. If an employee of a corporation or entity discusses his or
       her own actions relating to potential liability of the corporation, such
       communications are protected by the attorney-client privilege. . . . If, on
       the other hand, a corporate employee is interviewed as a “witness” to the
       actions of others, the communication should not be protected by the
       corporation’s attorney-client privilege.

774 N.W.2d 663, 672 (Iowa 2009) (internal citation omitted). Similarly, the Eighth
Circuit articulated the following elements that must be met before a communication made
by a corporate employee to an attorney, but not necessarily during the course of litigation,
will be considered privileged.
       [T]he attorney-client privilege is applicable to an employee’s
       communication if (1) the communication was made for the purpose of
       securing legal advice; (2) the employee making the communication did so
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       at the direction of his corporate superior; (3) the superior made the request
       so that the corporation could secure legal advice; (4) the subject matter of
       the communication is within the scope of the employee’s corporate duties;
       and (5) the communication is not disseminated beyond those persons who,
       because of the corporate structure, need to know its contents.

Diversified Indus., Inc. v. Meredith, 572 F.2d 596, 609 (8th Cir. 1978) (en banc). The
corporation has the burden to prove a communication fulfills all the above elements. Id.
Conceivably, non-privileged information that is not protected from disclosure could
escape production if the party holding the information makes the disclosure decision
without providing a privilege log.      A privilege log is necessary to assess whether
communications that might otherwise be discoverable have been improperly categorized
as attorney-client privileged.
D.     The privilege log requirement
       The Federal Rules of Civil Procedure never refer to a “privilege log.” “Rather,
the privilege log is a convention of modern legal practice designed to conform with the
requirements of Federal Rule of Civil Procedure 26(b)(5).” Bartholomew v. Avalon
Cap. Grp., Inc., 278 F.R.D. 441, 447 (D. Minn. 2011). Rule 26(b)(5)(A)(ii) does,
however,      require a party to describe the nature of the otherwise discoverable
information when that party asserts a claim of privilege. Such privilege logs “can aid the
court in its resolution of a dispute, but ‘[t]he tribunal ultimately decides what information
must be disclosed on a privileged document log.’” Prism Techs., LLC v. Adobe Sys.,
Inc., No. 8:10CV220, 2011 WL 5523389, *1 (D. Neb. Nov. 14, 2011)
(quoting PaineWebber Grp., Inc. v. Zinsmeyer Trs. P’ship, 187 F.3d 988, 992 (8th
Cir.1999)).
E.     Scope of the privilege log
       The fighting issue prior to the hearing was whether VDMC should be required to
produce a privilege log for attorney-client or privileged communications that occur or


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work product that is created after litigation has commenced. Because of further efforts
to resolve this matter by counsel, it now appears the parties have narrowed the issues to
be decided. VDMC is willing to provide a privilege log from January 1, 2016 through
December 31, 2016 (i.e., shortly after Frye was terminated).            (Doc. 54.)     Frye’s
statement of the remaining issue is a bit more obtuse:
       Plaintiff respectfully requests that the Court order VDMC to prepare a
       privilege log so as to comport with the requirements detailed by Rule 26
       (b)(5); with the stipulation that privileged communications, as contemplated
       in Keefe v. Bernard, between VDMC and Counsel subsequent to April 6,
       2018 need not be included.

(Doc. 55 ¶ 11.) Thus, I take it that the remaining issues to be resolved are (1) the
relevant dates for the privilege log; and (2) the documents and information subject to
disclosure on the log.
       VDMC relies on Brown v. West Corp., 287 F.R.D. 494, 499 (D. Neb. 2012)
which states, “This Court has joined other district courts in assuming privilege for
attorney-client communications that transpire after the initiation of litigation in situations
where the plaintiff is requesting extensive discovery. Id. The Court sees no reason to
depart from that assumption in this case.” This assumption does not appear to be
universal. See e.g., First Horizon Nat’l Corp. v. Certain Underwriters at Lloyd’s, 2013
WL 11090763, *3 (W.D. Tenn. Feb. 27, 2013) (“‘[T]he institution of a lawsuit does not
relieve the party opposing production of its burden of demonstrating’ the applicability of
any given privilege.”) (quoting Weber v. Paduano, No. 02 Civ. 3392 (GEL), 2003 WL
161340, at *7 (S.D.N.Y. Jan. 22, 2003)); Horton v. U.S., 204 F.R.D. 670, 673 (D.
Colo. 2002) (“Moreover, common sense dictates that even post-filing correspondence
and materials exchanged between lawyer and client must be listed on the privilege log.”).




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      The parties have identified no Eighth Circuit authority and I have found none on
the issue of post-litigation privilege logs. Brown relied on the following reasoning from
Prism Technologies:
      Some courts have adopted assumptions that limit the necessity to create such
      “privilege logs” of communications between a party and counsel in cases
      where attorney-client privilege is evident, particularly when the
      communications are voluminous. Defendants cite two cases, one
      unreported, as examples. The United States District Court for the Northern
      District of California has written, “[C]ounsel’s communications with the
      client and work product developed once the litigation commences are
      presumptively privileged and need not be included on any privilege log. . .
      . Plaintiff’s motion to compel is therefore denied to the extent it seeks to
      require a log of post-litigation counsel communications and work product.
      . . .” Ryan Inv. Corp. v. Pedregal De Cabo San Lucas, No. C 06–3219,
      2009 U.S. Dist. LEXIS 118337, at *9, 2009 WL 5114077 (N.D. Cal. Dec.
      18, 2009). Similarly, the United States District Court for the District of
      New York has written, “[P]rivilege logs are commonly limited to
      documents created before the date litigation was initiated. . . . [I]n many
      situations, it can be assumed that all documents created after . . . a lawsuit
      has been filed and withheld on the grounds of privilege were created
      ‘because of’ that pending litigation.” U.S. v. Bouchard Transp., No. 08–
      CV4490, 2010 WL 1529248, at *2 (E.D.N.Y.2010). Further, in a footnote,
      that court stated, “I find that Plaintiff is legally required to produce
      a privilege log for all documents created before the date this lawsuit was
      filed. . . .” Id. at *2 n.1.
                                       .      .      .
      The Court finds the reasoning of the other district courts cited above
      persuasive regarding an assumption of attorney-client privilege regarding
      communications between the parties and their counsel that took place after
      the litigation began, especially in light of the extensive discovery requested
      by plaintiff.

2011 WL 5523389, at *2.
      In the instant case, Frye has requested extensive discovery. For example, one of
Frye’s requests reads as follows:


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         REQUEST NO. 11: Any reports, notes, memorandums or other writing of
         any person or entity relating to the incidents involved in this case and/or
         the Unemployment Insurance Contest, Appeal No. 17A-UI-00493-IP 94.

(Doc. 43-2 at 6.)
      Defendant responded:

         VDMC objects to this request to the extent Plaintiff seeks information and
         materials protected by the attorney-client privilege, the attorney work
         product doctrine, and/or Fed R. Civ. P. 26(b)(3). VDMC objects to the
         term “relating to” as undefined, vague, and ambiguous. Subject to this
         objection, VDMC refers Plaintiff to the non-privileged, non-work product
         documents produced with its initial disclosures in categories 2(b) and (c)
         and materials produced in response to request no. 2.
(Id.)
         Frye’s request literally demands every document in VDMC’s possession that
relates to this matter. This request would include obviously privileged materials like
letters counsel may have written analyzing settlement strategy. It would also include
obviously immaterial items like pink phone slips with scribbled notes saying, “Call court
reporter re bill.” Although I am not called upon to rule on individual objections, this
request—among others—is far from targeted. This Court frowns on unsubstantiated
boilerplate objections. See St. Paul Reins. Co. v. Commercial Fin. Corp., 198 F.R.D.
508, 511, 514 (N.D. Iowa 2000) (calling boilerplate objections “contrary to federal
law”). However, broad requests like the one above sweep up privileged and immaterial
items indiscriminately and could create a burden on post-litigation communication and
creation of work product.
         Brown’s post-litigation cutoff seeks to eliminate the on-going and substantial
burden of continually updating a privilege log to disclose relevant but entirely privileged
communications, obvious work product, and the mundane detritus of litigation. An on-
going obligation to create a privilege log could discourage communication with, and
effective representation of, a client.

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       On the other hand, such a cutoff might prevent production of discoverable
information that comes to light after litigation is commenced. Using the facts of the
instant case to illustrate the point: an attorney for VDMC, during an interview with a
VDMC employee, may learn of a statement Ms. Rathbun made about some issue relevant
to this case. This communication with counsel may occur after litigation has commenced
and may implicate the attorney-client and work product privileges. Without a privilege
log for this communication, it would be impossible to pose a challenge to the scope of
the attorney-client privilege as contemplated by Keefe, 774 N.W.2d at 672 (holding that
discussions relating to potential liability of corporation are privileged, but mere witness
interviews are not) and Diversified Industries, 572 F.2d at 609 (establishing four elements
that must be satisfied before privilege will attach).
       Similarly, without the log, it would be impossible to overcome a work product
privilege claim based on substantial need. See Baker, 209 F.3d at 1054 (holding that
ordinary work product is not discoverable without substantial need and an inability to
obtain the substantial equivalent of the materials by other means).
       It remains to be seen if any such material exists, if a privilege will be asserted, or
if a claim of privilege can be overcome. Nevertheless, because Ms. Rathbun was a
central figure in Frye’s termination, it is appropriate to account for the possibility in the
creation of VDMC’s privilege log.        While I am generally persuaded that Brown’s
approach is sensible, it should be modified to require inclusion of certain post-litigation
communications regarding Ms. Rathbun as set forth below.
F.     The cutoff date
       Although the parties have expressed some agreement regarding limiting the
privilege log to pre-litigation information, they disagree on the appropriate cutoff date.
Frye requests the privilege log continue through April 6, 2018, the date his Petition was



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filed in state court. VDMC requests that January 17, 2017 (i.e., the date Frye initiated
his unemployment appeal) be established as the cutoff date.
      I conclude that January 17, 2017 is the date that litigation commenced and after
which communications are presumptively privileged and need not be included on
any privilege log. The reasons for the denial of Frye’s unemployment insurance claim
are intertwined with the reasons for his termination. It appears that VDMC had retained
counsel to defend the claim. Indeed, Frye’s Request No. 11 referenced above is seeking
documents relating to both matters.
      Therefore, VDMC will be required to provide a privilege log in compliance with
Rule 26(b)(5) for all communications it has withheld from discovery based on an assertion
of privilege through January 17, 2017. Counsel’s communications with VDMC and any
work product developed after that date need not be included on any privilege log except
those communications that reveal relevant information regarding Ms. Rathbun. This
exception is intended to alert Frye to information about Ms. Rathbun that, because of her
unavailability, might be unknown to him. The exception is not intended to require
VDMC to log instances where counsel repeats information pertaining to Ms. Rathbun or
generates work product regarding Ms. Rathbun that was previously disclosed.
G.    Alleged waiver of privilege and demand for fees and expenses
      Frye’s motion at document 46 alleged that VDMC waived its privilege objections
by failing to produce a privilege log. “[W]aiver of a privilege is a serious sanction most
suitable for cases of unjustified delay, inexcusable conduct, and bad faith.” Rakes v.
Life Inv’rs Ins. Co. of Am., No. C06-0099, 2008 WL 429060, at *4 (N.D. Iowa Feb.
14, 2008) (quoting First Sav. Bank v. First Bank Sys., Inc., 902 F. Supp. 1356, 1361
(D. Kan. 1995)). In this case, VDMC asserted its objections, but did not produce a
privilege log. However, VDMC did not merely ignore the obligation to provide a
privilege log. VDMC appears to have engaged in legitimate efforts to narrow the scope

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of the privilege log requirement regarding post-litigation communications where no clear
authority existed. Ultimately, the parties have agreed to a reduced scope of the privilege
log and I have ordered VDMC to provide such a modified privilege log. Under the
circumstances, VDMC’s privilege objections are not deemed waived.
       Frye requests costs and fees in accordance with Federal Rule of Civil
Procedure 37(a)(5)(A). The rule provides that if a motion to compel is granted, or if the
requested discovery is provided after the motion was filed, then the Court must require
the party whose conduct necessitated the motion to pay the movant’s reasonable expenses,
including attorney fees. As set forth above, the parties attempted to resolve the issues
presented in good faith and ultimately narrowed the scope of the issues in dispute.
       The Court may decline to grant such expenses if the motion to compel was
“substantially justified or other circumstances make an award of expenses unjust.”
Fed. R. Civ. P. 37(a)(5)(B). The Court finds sanctions in this instance inappropriate.
VDMC asserted good faith and at least partially meritorious arguments regarding the
necessity of a post-litigation privilege log.
       Therefore, I find that these circumstances make an award of expenses unjust and
inappropriate.


       IT IS THEREFORE ORDERED as follows:
       Plaintiff’s Motion to Compel (Doc. 43) is hereby GRANTED in part and
DENIED in part. Defendant VDMC shall produce a privilege log consistent with this
Order within 14 days hereof.
       Plaintiff’s Motion to Compel (Doc. 46) is DENIED.
       Both motions are DENIED as to the request for attorney fees and expenses.




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       Failure to comply may subject Defendant VDMC to appropriate sanctions upon
further application by Plaintiff.
       IT IS SO ORDERED this 26th day of March, 2019.




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